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     Attorney for Minh Vihn Le
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 8
                                   UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,           )                 CASE NO. 2:08-CR-00449-WBS
12                                       )
                       Plaintiff,        )
13                                       )                 STIPULATION AND [PROPOSED]
                                         )                 ORDER CONTINUING STATUS
14         v.                            )                 CONFERENCE AND EXCLUDING
                                         )                 TIME
15   HUNG LE, et al.                     )
                                         )
16                     Defendants.       )
     ___________________________________ )
17
18            The undersigned parties hereby stipulate and request that the status conference currently
19   set for May 24, 2010 at 8:30 a.m. be continued to July 12, 2010 at 8:30 a.m.
20            This continuance is necessary to allow all counsel to meet and confer with the United
21   States Attorney’s Office to discuss potential resolution of this matter.
22            It is further stipulated that the time between May 24, 2010 and July 12, 2010 be excluded
23   from the calculation of time under the Speedy Trial Act. The parties submit that the ends of
24   justice are served by the Court excluding such time so that the counsel for each party may have
25   reasonable time necessary for investigation and effective preparation taking into account the
26   exercise of due diligence. 18 USC Sec. 3161 (h)(7)(B)(iv) and Local Code T-4.
27
28   //
      Case 2:08-cr-00449-WBS Document 85 Filed 05/20/10 Page 2 of 2


 1   IT IS SO STIPULATED:
 2
     DATED: May 19, 2010                      /s/ Alice Wong
 3                                            ALICE WONG
                                              Attorney for Defendant Hung Le
 4
 5   DATED: May 19, 2010                      /s/ Dan Koukol
                                              DAN KOUKOL
 6                                            Attorney for Defendant Coung The Le
 7
     DATED: May 19, 2010                      /s/ William J. Portanova
 8                                            WILLIAM J. PORTANOVA
                                              Attorney for Defendant Minh Vinh Le
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10   DATED: May 19, 2010                      /s/ Lindsay Weston
                                              LINDSAY WESTON
11                                            Attorney for Defendant Tien The Le
12
     DATED: May 19, 2010                      /s/ Joseph Wiseman
13                                            JOSEPH WISEMAN
                                              Attorney for Defendant Tony Quy Le
14
15   DATED: May 19, 2010                      /s/ Heiko Coppola
                                              HEIKO COPPOLA
16                                            Assistant United States Attorney
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18   IT IS SO ORDERED:
19
     DATED: May 19, 2010
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